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Fill in this information to identify the case:

Debtor Name DNC   and TCPA List Sanitizer
            __________________________________________________________________


United States Bankruptcy Court for the: District
                                        _______  of District
                                                    Colorado of ________

                                                                                                                        Check if this is an
Case number: 24-12624    KHT
              _________________________
                                                                                                                          amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                               12/17

Month:                September
                      ___________                                                                 Date report filed:   10/24/2024
                                                                                                                        ___________
                                                                                                                        MM / DD / YYYY

                  TCPA Risk Mitigation
Line of business: ________________________                                                        NAISC code:          518210
                                                                                                                        ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                             DNC  and TCPA List Sanitizer
                                               ____________________________________________

Original signature of responsible party        ____________________________________________

Printed name of responsible party              Michael O'Hare
                                               ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                             Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.    Did the business operate during the entire reporting period?                                                       
                                                                                                                             ✔                
    2.    Do you plan to continue to operate the business next month?                                                        
                                                                                                                             ✔                
    3.    Have you paid all of your bills on time?                                                                           
                                                                                                                             ✔                
    4.    Did you pay your employees on time?                                                                                
                                                                                                                             ✔                
    5.    Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                    
                                                                                                                             ✔                
    6.    Have you timely filed your tax returns and paid all of your taxes?                                                 
                                                                                                                             ✔                
    7.    Have you timely filed all other required government filings?                                                       
                                                                                                                             ✔                
    8.    Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                    
                                                                                                                             ✔                
    9.    Have you timely paid all of your insurance premiums?                                                                               
                                                                                                                                               ✔

          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                             
                                                                                                                                     ✔         
    11. Have you sold any assets other than inventory?                                                                              
                                                                                                                                     ✔         
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                       
                                                                                                                                     ✔         
    13. Did any insurance company cancel your policy?                                                                                        
                                                                                                                                               ✔

    14. Did you have any unusual or significant unanticipated expenses?                                                             
                                                                                                                                     ✔         
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                  
                                                                                                                             ✔                
    16. Has anyone made an investment in your business?                                                                             
                                                                                                                                     ✔         
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Debtor Name DNC  and TCPA List Sanitizer
            _______________________________________________________                              24-12624 KHT
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


            2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                73,333.00
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            164,418.00
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                            77,146.00
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                               87,272.00
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                             157,580.00
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



            3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                          69,991.00
                                                                                                                            $ ____________

              (Exhibit E)




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             _______________________________________________________                                24-12624 KHT
                                                                                         Case number_____________________________________




            4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                                0.00
                                                                                                                               $ ____________

              (Exhibit F)



            5. Employees
                                                                                                                                            0
                                                                                                                                 ____________
    26. What was the number of employees when the case was filed?
    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                            0
                                                                                                                                 ____________




            6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                   25,000.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?
                                                                                                                                   15,738.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




            7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                          100,000.00
                                        $ ____________           –      164,418.00
                                                                     $ ____________
                                                                                               =      -64,418.00
                                                                                                   $ ____________
    32. Cash receipts
                                            90,000.00                    77,146.00             =       12,854.00
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                            10,000.00            –       87,272.00             =      -77,272.00
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                          100,000.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                    90,000.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                     10,000.00




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             _______________________________________________________                            24-12624 KHT
                                                                                     Case number_____________________________________




            8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.

    
    ✔ 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




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 EXHIBIT C
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Date     available_oncurrency   gross       fee           net       reporting_category
                                                                               description
 45536.25 45539.75 usd                750         22.05      727.95 charge     TCPA Litigator DNC List - Order 436146
 45536.29 45539.75 usd                299          8.97      290.03 charge     TCPA Litigator DNC List - Order 436149
 45536.34 45539.75 usd                799         27.47      771.53 charge     TCPA service September 2024
 45536.34 45539.75 usd               3250         94.55     3155.45 charge     TCPA service September 2024
 45536.57 45539.75 usd               2500          72.8      2427.2 charge     TCPA Litigator List Monthly Subscription Septe
 45536.62 45539.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 436212
 45536.74 45539.75 usd            1874.25         54.65      1819.6 charge     TCPA Litigator DNC List - Order 436227
 45537.22 45539.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 436313
 45537.24 45539.75 usd                199          9.06      189.94 charge     TCPA Litigator DNC List - Order 436314
 45537.39 45539.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 436323
 45537.55 45539.75 usd               2499         72.77     2426.23 charge     TCPA Litigator DNC List - Order 436403
 45537.65 45539.75 usd                 99          3.17       95.83 charge     TCPA Litigator DNC List - Order 436409
 45537.95 45539.75 usd                199          9.06      189.94 charge     TCPA Litigator DNC List - Order 436445
  45538.4 45539.75 usd                199          9.06      189.94 charge     TCPA Litigator DNC List - Order 435531
 45538.42 45539.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 436578
 45538.46 45539.75 usd                499         22.26      476.74 charge     TCPA Litigator DNC List - Order 436579
 45538.47 45539.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 436580
 45538.56 45539.75 usd                299          8.97      290.03 charge     TCPA Litigator DNC List - Order 436597
 45538.66 45539.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 436628
 45539.05 45540.75 usd                299          8.97      290.03 charge     TCPA Litigator DNC List - Order 436666
 45539.33 45540.75 usd                 80          2.62       77.38 charge     TCPA Litigator DNC List - Order 436675
 45539.36 45540.75 usd                199          9.06      189.94 charge     TCPA Litigator DNC List - Order 436713
 45539.41 45540.75 usd                199          9.06      189.94 charge     TCPA Litigator DNC List - Order 436729
 45539.52 45540.75 usd                149          4.62      144.38 charge     TCPA Litigator DNC List - Order 436884
 45539.75 45543.75 usd               2500          72.8      2427.2 charge     TCPA Litigator DNC List - Order 436923
 45540.32 45543.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 436936
 45540.37 45543.75 usd                499         14.77      484.23 charge     TCPA Litigator DNC List - Order 436958
 45540.42 45543.75 usd                399         17.86      381.14 charge     Invoice EC421722-0001
 45540.43 45543.75 usd                299          8.97      290.03 charge     TCPA Litigator DNC List - Order 436977
 45540.44 45543.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 436978
 45540.61 45543.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 437037
 45540.62 45543.75 usd                  1          0.34        0.66 charge     TCPA Litigator DNC List - Order 437036
 45540.63 45543.75 usd                249          7.52      241.48 charge     TCPA Litigator DNC List - Order 437038
 45540.75 45544.75 usd                399         17.86      381.14 charge     TCPA Litigator DNC List - Order 437074
 45540.77 45544.75 usd                299          8.97      290.03 charge     TCPA Litigator DNC List - Order 437075
 45541.22 45544.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 437085
 45541.25 45544.75 usd                299          8.97      290.03 charge     TCPA Litigator DNC List - Order 437088
 45541.32 45544.75 usd                299          8.97      290.03 charge     TCPA Litigator DNC List - Order 437104
 45541.34 45544.75 usd                199          9.06      189.94 charge     TCPA Litigator DNC List - Order 437105
 45541.34 45544.75 usd                300          13.5       286.5 charge     TCPA Litigator DNC List - Order 437107
 45541.49 45544.75 usd               1000          29.3       970.7 charge     TCPA Litigator DNC List - Order 437128
  45541.5 45544.75 usd                500          14.8       485.2 charge     TCPA Litigator DNC List - Order 437131
 45541.52 45544.75 usd                199          6.07      192.93 charge     TCPA Litigator DNC List - Order 437132
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45541.52   45544.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437133
45541.54   45544.75 usd        249   11.26    237.74 charge   TCPA Litigator DNC List - Order 437134
45541.55   45544.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437136
45541.67   45544.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 437142
45541.75   45545.75 usd       2100    61.2    2038.8 charge   TCPA Litigator DNC List - Order 437144
 45541.8   45545.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 437146
45542.03   45545.75 usd        149    6.86    142.14 charge   TCPA Litigator DNC List - Order 437147
45542.37   45545.75 usd        149    4.62    144.38 charge   TCPA Litigator DNC List - Order 437154
45542.46   45545.75 usd        249    7.52    241.48 charge   TCPA service September 2024
45542.64   45545.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437215
45542.88   45545.75 usd       2500    72.8    2427.2 charge   TCPA Litigator List Monthly Subscription Septe
45542.95   45545.75 usd        449   13.32    435.68 charge   TCPA Litigator DNC List - Order 437219
45543.16   45545.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437226
45543.29   45545.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 437230
45543.36   45545.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 437333
45543.38   45545.75 usd       2500    72.8    2427.2 charge   TCPA service September 2024
45543.43   45545.75 usd        149    4.62    144.38 charge   TCPA Litigator DNC List - Order 437388
45543.46   45545.75 usd        149    4.62    144.38 charge   TCPA Litigator DNC List - Order 437416
45543.47   45545.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437417
45543.55   45545.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 437419
45543.75   45545.75 usd       2249   65.52   2183.48 charge   TCPA Litigator DNC List - Order 437460
45544.34   45545.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 437523
45544.35   45545.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437524
45544.35   45545.75 usd        244     8.6     235.4 charge   TCPA additional scrubs
45544.47   45545.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437654
 45544.5   45545.75 usd       1649   48.12   1600.88 charge   TCPA Litigator DNC List - Order 437655
45544.56   45545.75 usd        249   11.26    237.74 charge   TCPA Litigator DNC List - Order 437387
45544.56   45545.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437656
45544.69   45545.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437679
45544.84   45546.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437783
45545.27   45546.75 usd        199    9.06    189.94 charge   TCPA Litigator DNC List - Order 437814
45545.55   45546.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437970
45545.58   45546.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 437971
45545.59   45546.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 437973
45546.26   45547.75 usd       2500    72.8    2427.2 charge   TCPA Litigator DNC List - Order 438018
45546.32   45547.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 438020
45546.34   45547.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 438022
45546.35   45547.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 438023
45546.38   45547.75 usd        249    7.52    241.48 charge   TCPA Litigator DNC List - Order 438026
45546.39   45547.75 usd        449   13.32    435.68 charge   TCPA Litigator DNC List - Order 438027
45546.52   45547.75 usd        149    4.62    144.38 charge   TCPA Litigator DNC List - Order 438197
45546.63   45547.75 usd        449   13.32    435.68 charge   TCPA Litigator DNC List - Order 438229
 45546.7   45547.75 usd        199    9.06    189.94 charge   TCPA Litigator DNC List - Order 438231
45546.75   45550.75 usd       3000    87.3    2912.7 charge   TCPA Litigator DNC List - Order 438234
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45547.19   45550.75 usd        799   35.46    763.54 charge   TCPA Litigator DNC List - Order 438290
45547.19   45550.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 438291
45547.35   45550.75 usd        199    9.06    189.94 charge   TCPA Litigator DNC List - Order 438292
45547.37   45550.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 438294
45547.42   45550.75 usd        799   23.47    775.53 charge   TCPA Litigator DNC List - Order 438335
45547.45   45550.75 usd        249    7.52    241.48 charge   TCPA Litigator DNC List - Order 438357
45547.61   45550.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 438386
45547.63   45550.75 usd        300    13.5     286.5 charge   TCPA Litigator DNC List - Order 438407
45547.65   45550.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 438445
45548.34   45551.75 usd        299   13.46    285.54 charge   TCPA Litigator DNC List - Order 438630
45548.43   45551.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 438677
45548.68   45551.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 438765
45548.78   45552.75 usd       1499   43.77   1455.23 charge   TCPA Litigator DNC List - Order 438920
45548.94   45552.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 438959
45549.24   45552.75 usd        199    9.06    189.94 charge   TCPA Litigator DNC List - Order 438968
45549.25   45552.75 usd        900    39.9     860.1 charge   TCPA Litigator DNC List - Order 438877
45549.33   45552.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 438973
45549.71   45552.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 438987
45549.76   45552.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439041
45550.19   45552.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439045
45550.38   45552.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439049
 45550.4   45552.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 439051
45550.45   45552.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 439059
45550.46   45552.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 439060
45550.56   45552.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 439067
45550.66   45552.75 usd         75    2.48     72.52 charge   TCPA Litigator DNC List - Order 439069
45551.28   45552.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439077
45551.37   45552.75 usd        149    4.62    144.38 charge   TCPA Litigator DNC List - Order 439138
45551.37   45552.75 usd       1750    77.3    1672.7 charge   TCPA service September 2024
45551.55   45552.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439251
45551.55   45552.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 439252
45551.57   45552.75 usd        500    14.8     485.2 charge   TCPA Litigator DNC List - Order 439253
 45551.7   45552.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439351
 45552.4   45553.75 usd        600    20.7     579.3 charge   TCPA Updates 6000 phone numbers
45552.56   45553.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 439479
45552.69   45553.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 439483
45552.69   45553.75 usd        499   14.77    484.23 charge   TCPA Litigator DNC List - Order 439485
45552.71   45553.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 439352
45552.74   45553.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439504
45553.37   45554.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439534
45553.37   45554.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439536
45553.46   45554.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439542
45553.46   45554.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 439543
45553.52   45554.75 usd       1649   48.12   1600.88 charge   TCPA Litigator DNC List - Order 439544
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45553.55   45554.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 439545
45553.56   45554.75 usd         99     3.17     95.83 charge   TCPA Litigator DNC List - Order 438992
45553.59   45554.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 439553
45553.72   45554.75 usd        199     6.07    192.93 charge   TCPA Litigator DNC List - Order 439561
45553.95   45557.75 usd        299    13.46    285.54 charge   TCPA Litigator DNC List - Order 439042
45554.28   45557.75 usd       1000     29.3     970.7 charge   TCPA Litigator DNC List - Order 439567
45554.32   45557.75 usd        300     13.5     286.5 charge   TCPA Litigator DNC List - Order 439568
 45554.4   45557.75 usd         99     3.17     95.83 charge   TCPA Litigator DNC List - Order 439581
45554.52   45557.75 usd       1248    36.49   1211.51 charge   TCPA Litigator DNC List - Order 439619
 45554.6   45557.75 usd        199     9.06    189.94 charge   TCPA Litigator DNC List - Order 439628
45554.99   45558.75 usd        499    14.77    484.23 charge   TCPA Litigator DNC List - Order 439632
45555.36   45558.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 439643
45555.38   45558.75 usd       1250    36.55   1213.45 charge   TCPA Litigator DNC List - Order 439648
45555.46   45558.75 usd        199     6.07    192.93 charge   TCPA Litigator DNC List - Order 439663
45555.48   45558.75 usd        199     6.07    192.93 charge   TCPA Litigator DNC List - Order 439665
45555.49   45558.75 usd        499    14.77    484.23 charge   TCPA Litigator DNC List - Order 439666
45555.51   45558.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 439729
45555.55   45558.75 usd        249     7.52    241.48 charge   TCPA Litigator DNC List - Order 439737
45555.76   45559.75 usd        199     6.07    192.93 charge   TCPA Litigator DNC List - Order 439756
45556.43   45559.75 usd        299    13.46    285.54 charge   TCPA Litigator DNC List - Order 439796
45556.43   45559.75 usd        199     6.07    192.93 charge   TCPA Litigator DNC List - Order 439797
45556.49   45559.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 439798
 45556.5   45559.75 usd        149     4.62    144.38 charge   TCPA Litigator DNC List - Order 439799
45556.61   45559.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 439801
45557.36   45559.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 439814
45557.43   45559.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 439818
45557.59   45559.75 usd         99     3.17     95.83 charge   TCPA Litigator DNC List - Order 439823
45557.76   45559.75 usd       3000     87.3    2912.7 charge   TCPA Litigator DNC List - Order 439872
45558.44   45559.75 usd        199     6.07    192.93 charge   TCPA Litigator DNC List - Order 439937
45558.45   45559.75 usd        499    14.77    484.23 charge   TCPA Litigator DNC List - Order 439938
45558.46   45559.75 usd        199     6.07    192.93 charge   TCPA Litigator DNC List - Order 439951
45558.49   45559.75 usd         99     3.17     95.83 charge   TCPA Litigator DNC List - Order 439952
45558.58   45559.75 usd        799    23.47    775.53 charge   TCPA Litigator DNC List - Order 439973
45558.64   45559.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 440028
45558.74   45559.75 usd         99     3.17     95.83 charge   TCPA Litigator DNC List - Order 440183
45559.05   45560.75 usd        299    13.46    285.54 charge   TCPA Litigator DNC List - Order 440193
45559.31   45560.75 usd        299    13.46    285.54 charge   TCPA Litigator DNC List - Order 440204
45559.37   45560.75 usd       4152   141.47   4010.53 charge   TCPA extra scrubs from September 9 to Septe
45559.38   45560.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 440235
45559.39   45560.75 usd        199     6.07    192.93 charge   TCPA Litigator DNC List - Order 440236
45559.49   45560.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 440353
 45559.5   45560.75 usd        199     6.07    192.93 charge   TCPA Litigator DNC List - Order 440354
45559.56   45560.75 usd        299     8.97    290.03 charge   TCPA Litigator DNC List - Order 440386
45559.57   45560.75 usd        199     6.07    192.93 charge   TCPA Litigator DNC List - Order 440395
Case:24-12624-KHT Doc#:251 Filed:10/24/24     Entered:10/24/24 11:08:36 Page10 of 43
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45559.57   45560.75 usd       1500    43.8    1456.2 charge   TCPA Litigator DNC List - Order 440408
45560.15   45561.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 440492
 45560.4   45561.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 440537
45560.54   45561.75 usd        449   13.32    435.68 charge   TCPA Litigator DNC List - Order 440616
45560.57   45561.75 usd        449   13.32    435.68 charge   TCPA Litigator DNC List - Order 440647
 45560.6   45561.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 440658
45560.76   45564.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 440693
45561.17   45564.75 usd        149    4.62    144.38 charge   TCPA Litigator DNC List - Order 440697
45561.33   45564.75 usd        499   14.77    484.23 charge   TCPA service September 2024
45561.41   45564.75 usd        299   13.46    285.54 charge   TCPA Litigator DNC List - Order 440731
45561.46   45564.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 440765
45561.53   45564.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 440797
45561.63   45564.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 440864
45561.67   45564.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 440871
45561.76   45565.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 440885
45562.37   45565.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 440985
45562.38   45565.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 440986
45562.42   45565.75 usd        250    7.55    242.45 charge   TCPA Litigator DNC List - Order 441005
45562.49   45565.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 441009
45562.51   45565.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 439730
45562.57   45565.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 441017
45562.58   45565.75 usd        100     3.2      96.8 charge   TCPA Litigator DNC List - Order 441019
45562.58   45565.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 441020
45563.36   45566.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 441072
45563.52   45566.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 441084
45563.77   45566.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 441091
45564.45   45566.75 usd       1649   48.12   1600.88 charge   TCPA Litigator DNC List - Order 441110
45564.47   45566.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 441111
45564.58   45566.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 441112
45565.35   45566.75 usd        300    13.5     286.5 charge   Invoice 64B84044-0022
45565.37   45566.75 usd        249    7.52    241.48 charge   TCPA Litigator DNC List - Order 441186
45565.39   45566.75 usd        149    4.62    144.38 charge   TCPA Litigator DNC List - Order 441187
 45565.4   45566.75 usd        995   29.16    965.84 charge   TCPA Litigator DNC List - Order 441189
45565.43   45566.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 441217
 45565.5   45566.75 usd        199    9.06    189.94 charge   TCPA Litigator DNC List - Order 441311
45565.51   45566.75 usd        199    6.07    192.93 charge   TCPA Litigator DNC List - Order 441318
45565.57   45566.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 441380
45565.58   45566.75 usd        499   14.77    484.23 charge   TCPA Litigator DNC List - Order 441387
45565.58   45566.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 441388
45565.58   45566.75 usd        149    4.62    144.38 charge   TCPA Litigator DNC List - Order 441389
 45565.6   45566.75 usd        600    17.7     582.3 charge   TCPA service September 2024
45565.66   45566.75 usd        799   23.47    775.53 charge   TCPA Litigator DNC List - Order 441460
45565.69   45566.75 usd         99    3.17     95.83 charge   TCPA Litigator DNC List - Order 441613
45565.72   45566.75 usd        299    8.97    290.03 charge   TCPA Litigator DNC List - Order 441614
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45565.77 45567.75 usd       799    23.47    775.53 charge   TCPA Litigator DNC List - Order 441627
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tor List Monthly Subscription September
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tor List Monthly Subscription September
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scrubs from September 9 to September 24
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                                Paypal Credits September

Date      Time       TimeZoneType                   Gross
 9/2/2024    6:42:25 PDT     Subscription Payment           199
 9/3/2024    7:50:07 PDT     Subscription Payment           199
 9/4/2024    7:12:12 PDT     General Payment           1,500.00
 9/5/2024    5:31:55 PDT     Website Payment                199
 9/5/2024    8:10:15 PDT     Website Payment                199
 9/5/2024 18:46:26 PDT       Subscription Payment           299
 9/6/2024    4:35:39 PDT     Subscription Payment            99
 9/6/2024 10:55:11 PDT       Subscription Payment           199
 9/9/2024    4:18:54 PDT     Subscription Payment           199
 9/9/2024    8:45:11 PDT     Website Payment                199
9/10/2024    4:15:44 PDT     Subscription Payment           199
9/15/2024    4:27:11 PDT     Subscription Payment           299
9/16/2024    4:07:47 PDT     Subscription Payment           299
9/16/2024    8:21:42 PDT     Mobile Payment                 300
9/17/2024    7:34:43 PDT     Website Payment                199
9/19/2024 12:54:41 PDT       Website Payment                199
9/20/2024    4:05:29 PDT     Subscription Payment           299
9/20/2024    6:55:41 PDT     Website Payment                199
9/25/2024    8:31:28 PDT     General Payment                300
9/26/2024    4:11:08 PDT     Subscription Payment           799
9/27/2024    7:23:16 PDT     Subscription Payment      2,499.00
9/29/2024    3:36:33 PDT     Subscription Payment           199
9/29/2024    4:27:07 PDT     Subscription Payment           199
9/30/2024    5:22:35 PDT     Website Payment                449
9/30/2024    8:47:16 PDT     Website Payment                199
                                                    $ 9,928.00
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                        Paypal Credits September
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                        Paypal Credits September
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                        Paypal Credits September
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                 HAVE A QUESTION?                                                                                     Processing Month:             09-24              5546
                 OPEN A DASHBOARD TICKET UNDER SUPPORT
                 OR CALL (800) 464-9777                                                                               Association Number:           061537
                                                                                                                      Merchant Number:              xxxx30119760398
                                                                                                                      Routing Number:               xxxxx6994
                                                                                                                      Deposit Account Number:       xxx0627




                                                                                                                      Amount Deducted:
                 DNC AND TCPA LIST SANITIZER
                                                                                                                      $ 83.22
                 MICHAEL O'HARE
                 985 PICO PT
                 COLORADO SPRINGS CO 80905-7380


                                                                                Plan Summary
Plan       Number of         Amount of       Number of          Amount of                     Net               Average               Disc          Disc            Discount
Code          Sales             Sales          Credits            Credits                   Sales                 Ticket               P/I            %                 Due
VS               00               .00              00                  .00                  .00                    .00                           0.5000                  .00
VD               02            398.00              00                  .00               398.00                 199.00                           0.5000                 1.99
VB               00               .00              00                  .00                  .00                    .00                           0.5000                  .00
MC               00               .00              00                  .00                  .00                    .00                           0.5000                  .00
MD               04            796.00              00                  .00               796.00                 199.00                           0.5000                 3.98
MB               00               .00              00                  .00                  .00                    .00                           0.5000                  .00
JC               00               .00              00                  .00                  .00                    .00                           0.5000                  .00
AM               00               .00              00                  .00                  .00                    .00                           0.5000                  .00
DS               00               .00              00                  .00                  .00                    .00                           0.5000                  .00
DD               00               .00              00                  .00                  .00                    .00                           0.5000                  .00
DZ               00               .00              00                  .00                  .00                    .00                           0.5000                  .00
DJ               00               .00              00                  .00                  .00                    .00                           0.5000                  .00
DB               00               .00              00                  .00                  .00                    .00           0.35000         0.8500                  .00
**               06          1,194.00              00                  .00             1,194.00                 199.00                                                  5.97


                                                                                  Deposits
           Reference           Tran      Plan     Number of              Amount of                  Amount of              Discount
Day        Number              Code      Code        Sales                  Sales                     Credits                  Paid             Non Settled           Settled
10         90001010004         D         T                01               199.00                        .00                  1.00                     .00           198.00
12         90001020006         D         T                01               199.00                        .00                  1.00                     .00           198.00
13         90001030008         D         T                01               199.00                        .00                  1.00                     .00           198.00
15         90001040010         D         T                01               199.00                        .00                  1.00                     .00           198.00
15         90001050012         D         T                01               199.00                        .00                  1.00                     .00           198.00
27         90001060025         D         T                01               199.00                        .00                  1.00                     .00           198.00
           Deposit Totals                                  6             1,194.00                        .00                  6.00                                 1,188.00


                                                                                     Fees
       Count            Amount        Rate %        Rate Per Item Description                                                                          Fees Paid           Total

AUTHORIZATION FEES:
     25                                                  0.10000 Authorization Fee - V/MC/D                                                                 .00            2.50
                                                                                                                                      Total Authorization Fees:            2.50
INTERCHANGE FEES / AMERICAN EXPRESS PROGRAM FEES:
     02           398.00  0.0500     0.22000 VS US REG DB                                                                    .00                                         .64
     02           398.00  1.6000             MC Cons Rate 1 Digital Comm Core                                                .00                                        6.36
     02           398.00  1.9800             MC Cons Rate 1 Digital Comm Super Prem                                          .00                                        7.88
                                                                       Total Interchange Fees / American Express Program Fees:                                         14.88
TRANSACTION FEES:
     06                              0.05000 Batch Fee                                                                       .00                                            .30
                                                                                                         Total Transaction Fees:                                            .30




                                                                 PLAN CODES                                                                       TRANSACTION CODES
VS -VISA                    MC -MASTERCARD                         DS -DISCOVER                 JC -JCB                         T -ALL PLANS      D -DEPOSIT
VL -VISA LARGE TICKET       ML -MASTERCARD LARGE TICKET            DD - DISCOVER DEBIT          AM -AMERICAN EXPRESS            1 -PLAN ONE       C -CHARGEBACK
VD -VISA DEBIT              MD -MASTERCARD DEBIT                   DZ -DISCOVER BUSINESS        DB -DEBIT                       2 -PLAN TW O      A -ADJUSTMENT
VB -VISA BUSINESS           MB -MASTERCARD BUSINESS                DJ -DISCOVER JCB             EC -ELECTRONIC CHECK            3 -PLAN THREE     B -CHARGEBACK REVERSAL
V$ -VISA CASH ADVANCE       M$ -MASTERCARD CASH ADVANCE            D$ -DISCOVER CASH ADV        EB -EBT    PP -PAYPAL
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                                                                 Fees - continued
   Count           Amount   Rate %   Rate Per Item Description                                                    Fees Paid    Total

CARD BRAND FEES:
     01                                 0.01950 VS NAPF Domestic CR Authorization                                       .00     .02
     01            199.00   0.0100              VS Commercial Solutions Fee                                             .00     .02
     01                                 0.03500 VS Domestic Account Verification CR                                     .00     .04
     02            398.00   0.0075              VS US Digital Commerce Services                                         .00     .03
     05                                 0.03000 VS Domestic Account Verification DB                                     .00     .15
     07                                 0.01550 VS NAPF Domestic DB Authorization                                       .00     .11
     02            398.00   0.1300              VS US Acquirer Service Fee DB                                           .00     .52
     04            796.00   0.1400              MC Acquirer Brand Volume                                                .00    1.11
     04            796.00   0.8500              MC Acquirer Program Support                                             .00    6.77
     04            796.00   0.6000              MC Cross Border Domestic                                                .00    4.78
     07                                 0.01950 MC NABU Authorization                                                   .00     .14
     08                                 0.02950 MC InterReg NABU Authorization Fee                                      .00     .24
     15                                 0.00070 MC Safety Net Acquirer Fee                                              .00     .01
     14            995.00   0.0200              MC Digital Enablement Fee                                               .00     .38
     04            796.00   0.0125              MC Acquirer License Fee                                                 .00     .10
                                                                                                     Total Card Brand Fees:   14.42
OTHER FEES:
                                        5.00000 Monthly Fee                                                             .00    5.00
                                       25.00000 Non-Receipt of PCI Compliance                                           .00   25.00
                                        5.00000 PCI Program                                                             .00    5.00
     01                                15.00000 Website Monitoring Fee                                                  .00   15.00
     23                                 0.05000 AVS Transaction Fee                                                     .00    1.15
                                                                                                          Total Other Fees:   51.15
                                                                                                          Total Fees Due:     83.25




                                        Discount Due                                       5.97
                                        Discount Paid                                      6.00
                                        Net Discount Due                                   -.03
                                        Fees Due                                          83.25
                                        Amount Deducted                                   83.22
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               HAVE A QUESTION?
               OPEN A DASHBOARD TICKET UNDER SUPPORT                                                     Processing Month:          09-24               5546
               OR CALL (800) 464-9777
                                                                                                         Association Number:        061537
                                                                                                         Merchant Number:           xxxx30119760398
                                                                                                         Routing Number:            xxxxx6994
                                                                                                         Deposit Account Number:    xxx0627




               DNC AND TCPA LIST SANITIZER
               MICHAEL O'HARE                                                                            Amount Deducted:
               985 PICO PT                                                                               $ 83.22
               COLORADO SPRINGS CO 80905-7380




                                                     GROSS SALES VOLUME




                                                                          $1,194.00

                                               Visa Debit                   $895.50
                                               33%

                                                                            $597.00

                                                                            $298.50
              MasterCard Debit
              67%                                                               $.00
                                                                                         Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec


                                                                                                 2024

                             Current Month Sales                                           2024 Year-to-date sales amount: $1,194.00




                                                            PLAN CODES                                                             TRANSACTION CODES
VS -VISA                  MC -MASTERCARD                      DS -DISCOVER              JC -JCB                  T -ALL PLANS      D -DEPOSIT
VL -VISA LARGE TICKET     ML -MASTERCARD LARGE TICKET         DD - DISCOVER DEBIT       AM -AMERICAN EXPRESS     1 -PLAN ONE       C -CHARGEBACK
VD -VISA DEBIT            MD -MASTERCARD DEBIT                DZ -DISCOVER BUSINESS     DB -DEBIT                2 -PLAN TW O      A -ADJUSTMENT
VB -VISA BUSINESS         MB -MASTERCARD BUSINESS             DJ -DISCOVER JCB          EC -ELECTRONIC CHECK     3 -PLAN THREE     B -CHARGEBACK REVERSAL
V$ -VISA CASH ADVANCE     M$ -MASTERCARD CASH ADVANCE         D$ -DISCOVER CASH ADV     EB -EBT    PP -PAYPAL
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  EXHIBIT D
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                        Paypal Statement Debits September

Date      Time       TimeZone   Name
 9/2/2024    8:15:16 PDT        Vultr
 9/2/2024    9:51:20 PDT        CBAS MANAGEMENT, INC
 9/4/2024 20:47:56 PDT          Eventbrite
 9/8/2024 15:54:40 PDT          ActiveCampaign LLC
9/20/2024 10:05:49 PDT          Vultr
9/22/2024    1:18:15 PDT        ActiveCampaign LLC
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                         Paypal Statement Debits September

Type                                  Status    Currency   Gross
Express Checkout Payment              Completed USD         -1,000.00
General Payment                       Completed USD         -1,612.00
Express Checkout Payment              Completed USD         -1,359.88
PreApproved Payment Bill User Payment Completed USD            -13.55
Express Checkout Payment              Completed USD         -2,000.00
PreApproved Payment Bill User Payment Completed USD              -320
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                              Stripe Processing Debits

Stripe Debits
         Date            available_on         currency      gross       fee        net
         9/9/2024 6:26         9/9/2024 6:26 usd                -199          15      -214
         9/9/2024 6:42         9/9/2024 6:42 usd                -199          15      -214
         9/9/2024 6:45         9/9/2024 6:45 usd                -199          15      -214
         9/9/2024 7:29     9/10/2024 18:00 usd                  -199          15      -214
         9/1/2024 0:34         9/1/2024 0:34 usd               -0.44           0     -0.44
         9/2/2024 0:46         9/2/2024 0:46 usd               -0.24           0     -0.24
         9/3/2024 0:39         9/3/2024 0:39 usd               -0.14           0     -0.14
         9/4/2024 0:20         9/4/2024 0:20 usd               -0.16           0     -0.16
         9/5/2024 0:44         9/5/2024 0:44 usd                 -0.2          0       -0.2
         9/6/2024 0:39         9/6/2024 0:39 usd               -0.22           0     -0.22
         9/7/2024 3:19         9/7/2024 3:19 usd               -0.34           0     -0.34
         9/8/2024 0:32         9/8/2024 0:32 usd               -0.16           0     -0.16
         9/9/2024 0:34         9/9/2024 0:34 usd               -0.34           0     -0.34
        9/10/2024 0:58       9/10/2024 0:58 usd                -0.24           0     -0.24
        9/11/2024 0:26       9/11/2024 0:26 usd                  -0.1          0       -0.1
        9/12/2024 0:19       9/12/2024 0:19 usd                -0.26           0     -0.26
        9/13/2024 0:29       9/13/2024 0:29 usd                -0.28           0     -0.28
        9/14/2024 0:36       9/14/2024 0:36 usd                  -0.1          0       -0.1
        9/15/2024 0:30       9/15/2024 0:30 usd                -0.18           0     -0.18
        9/16/2024 0:23       9/16/2024 0:23 usd                  -0.2          0       -0.2
        9/17/2024 0:16       9/17/2024 0:16 usd                -0.34           0     -0.34
        9/18/2024 0:18       9/18/2024 0:18 usd                -0.28           0     -0.28
        9/19/2024 0:53       9/19/2024 0:53 usd                -0.26           0     -0.26
        9/20/2024 0:40       9/20/2024 0:40 usd                -0.14           0     -0.14
        9/21/2024 0:41       9/21/2024 0:41 usd                  -0.2          0       -0.2
        9/22/2024 0:14       9/22/2024 0:14 usd                -0.18           0     -0.18
        9/23/2024 0:26       9/23/2024 0:26 usd                -0.08           0     -0.08
        9/24/2024 0:43       9/24/2024 0:43 usd                -0.18           0     -0.18
        9/25/2024 0:33       9/25/2024 0:33 usd                -0.26           0     -0.26
        9/26/2024 0:50       9/26/2024 0:50 usd                -0.18           0     -0.18
        9/27/2024 0:24       9/27/2024 0:24 usd                -0.28           0     -0.28
        9/28/2024 0:48       9/28/2024 0:48 usd                -0.36           0     -0.36
        9/29/2024 1:05       9/29/2024 1:05 usd                -0.14           0     -0.14
        9/30/2024 0:21       9/30/2024 0:21 usd                -0.14           0     -0.14
         9/8/2024 9:05     9/10/2024 18:00 usd                -2500            0    -2500
       9/19/2024 12:12     9/22/2024 18:00 usd                  -299           0      -299
       9/30/2024 14:30     10/1/2024 18:00 usd                  -149           0      -149
       9/30/2024 17:44     10/1/2024 18:00 usd                  -299           0      -299
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                                  Stripe Processing Debits


reporting_category description
dispute            Chargeback withdrawal for ch_3PbskBEXsTy6mdVC1p79OqDS
dispute            Chargeback withdrawal for ch_3PaECVEXsTy6mdVC0k8TeSMw
dispute            Chargeback withdrawal for ch_3PhzdTEXsTy6mdVC0mA9Jh3r
dispute            Chargeback withdrawal for ch_3PwhkuEXsTy6mdVC1JlOwGc2
fee                Radar (2024-08-31): Radar for Fraud Teams
fee                Radar (2024-09-01): Radar for Fraud Teams
fee                Radar (2024-09-02): Radar for Fraud Teams
fee                Radar (2024-09-03): Radar for Fraud Teams
fee                Radar (2024-09-04): Radar for Fraud Teams
fee                Radar (2024-09-05): Radar for Fraud Teams
fee                Radar (2024-09-06): Radar for Fraud Teams
fee                Radar (2024-09-07): Radar for Fraud Teams
fee                Radar (2024-09-08): Radar for Fraud Teams
fee                Radar (2024-09-09): Radar for Fraud Teams
fee                Radar (2024-09-10): Radar for Fraud Teams
fee                Radar (2024-09-11): Radar for Fraud Teams
fee                Radar (2024-09-12): Radar for Fraud Teams
fee                Radar (2024-09-13): Radar for Fraud Teams
fee                Radar (2024-09-14): Radar for Fraud Teams
fee                Radar (2024-09-15): Radar for Fraud Teams
fee                Radar (2024-09-16): Radar for Fraud Teams
fee                Radar (2024-09-17): Radar for Fraud Teams
fee                Radar (2024-09-18): Radar for Fraud Teams
fee                Radar (2024-09-19): Radar for Fraud Teams
fee                Radar (2024-09-20): Radar for Fraud Teams
fee                Radar (2024-09-21): Radar for Fraud Teams
fee                Radar (2024-09-22): Radar for Fraud Teams
fee                Radar (2024-09-23): Radar for Fraud Teams
fee                Radar (2024-09-24): Radar for Fraud Teams
fee                Radar (2024-09-25): Radar for Fraud Teams
fee                Radar (2024-09-26): Radar for Fraud Teams
fee                Radar (2024-09-27): Radar for Fraud Teams
fee                Radar (2024-09-28): Radar for Fraud Teams
fee                Radar (2024-09-29): Radar for Fraud Teams
refund             REFUND FOR CHARGE (TCPA service September 2024)
refund             REFUND FOR CHARGE (TCPA Litigator DNC List - Order 439042)
refund             REFUND FOR CHARGE (TCPA Litigator DNC List - Order 441187)
refund             REFUND FOR CHARGE (TCPA Litigator DNC List - Order 441217)
  Case:24-12624-KHT Doc#:251 Filed:10/24/24                        www.chase.com/cardhelp
                                                                                                Entered:10/24/24 11:08:36 Page30 of 43
                                                                   Manage your account online at :             Customer Service:
                                                                                                               1-800-945-2028
                                                                                                                                            Mobile:   Download the
                                                                                                                                                         ®
                                                                                                                                            Chase Mobile     app today


                                                                                    SCENARIO-1D

                            October 2024                                                    CHASE ULTIMATE REWARDS®
          S        M           T    W     T    F     S                                      SUMMARY
          29       30          1    2     3    4     5                                      Previous points balance                                      130,334
          6        7           8    9    10    11    12                                     + 2 Points per $1 on trvl, ship, adv, telecom                  6,004
                                                          Payment Due Date                  + 1 Point per $1 earned on all purchases                       5,329
          13       14       15      16   17    18    19
                                                          10/25/24
          20       21       22      23   24    25    26
          27       28       29      30   31    1     2
                                                                                            You earn unlmtd 1pt per $1 on all prchs You earn an additional 2
          3        4           5    6     7    8     9                                      pts per $1 on the first $150,000 spent in combined purchases in
    Late Payment Warning:
                                                                                            the following categories: travel, shipping purchases, phone,
    Late Payment Warning: If we do not receive your minimum payment                         internet & cable TV svcs, advertising purchases made with social
    by the due date, you may have to pay a late fee, and existing and new                   media sites and search engines each acct anniv yr.
    balances may become subject to the Default APR.
    Minimum Payment Warning:


    Minimum Payment Warning: Enroll in Auto-Pay and avoid missing
    a payment. To enroll, go to www.chase.com



    ACCOUNT SUMMARY
    Account Number: XXXX XXXX XXXX 2351
    Previous Balance




    New Balance                                                          $36,882.99



    Available Credit                                                          $8,617
    Cash Access Line                                                          $2,275
    Available for Cash                                                        $2,275
       Past Due Amount                                                         $0.00
       Balance over the Credit Access Line                                     $0.00
      `




      `




    YOUR ACCOUNT MESSAGES

    Effective October 10, 2024, you will not be able to use Chase credit cards to pay for third-party Buy Now Pay Later
    ("BNPL") installment plans. Payments to these installment plans (e.g., Klarna, AfterPay, etc.) using your Chase credit
    card will be declined.


    If your Chase credit card is used for any of these recurring BNPL plans, please update the payment method with your
    BNPL provider to avoid any missed payments or late fees (if applicable).


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    0514

Remit Coupon for
                                              This Statement is a Facsimile - Not an original


                                                                   42463153028723510011370003688299000000007
                P.O. BOX 15123
                                                           AUTOPAY IS ON                    Payment Due Date:                                           10/25/24
          WILMINGTON, DE 19850-5123
                                                           See Your Account
           For Undeliverable Mail Only
                                                          Messages for details.

                                                                                                        Account number: XXXX XXXX XXXX 2351

                                                                                              $_________________________.___________              Amount Enclosed
                               05309 BEX Z 27724 C                                                       Make/Mail to Chase Card Services at the address below:


                               MICHAEL OHARE
                               CASHYEW LEAD GENERATION
                               405 CHERRY HILLS WAY
                               COLO SPGS CO 80921-2667
                                                                                                                       CARDMEMBER SERVICE
                                                                                                                       PO BOX 6294
                                                                                                                       CAROL STREAM IL 60197-6294




                                               A500016028A15953028723517C
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   To contact us regarding your account:

            Call Customer Service:
            In U.S.          1-800-945-2028
            Spanish          1-888-795-0574
            Pay by phone 1-800-436-7958                   Send Inquiries to:                     Mail Payments to:                   Visit Our Website:

            International    1-480-350-7099                                                      P.O. Box 6294                       www.chase.com/cardhelp
                                                          P.O. Box 15298
            We accept operator relay calls                                                       Carol Stream, IL 60197-6294
                                                          Wilmington, DE 19850-5298




     Information About Your Account                                                     close your account within 30 days or one billing cycle (whichever is less)
                                                                                        after we provide the statement on which the annual membership fee is
     Making Your Payments:
                                                                                        billed. Your payment of the annual membership fee does not affect our
                                                                                        rights to close your Account and to limit your right to make transactions on
     The amount of your payment should be at least your minimum payment                 your Account. If your Account is closed by you or us, the annual
     due, payable in U.S. dollars and drawn on or payable through a U.S.                membership fee will no longer be billed to your Account.
     financial institution or the U.S. branch of a foreign financial institution. You
     can pay down balances faster by paying more than the minimum payment               Calculation Of Balance Subject To Interest Rate:
     or the total unpaid balance on your account.                                       Daily Interest Rates and Annual Percentage Rates may be found on the
                                                                                        Rates and Fees Table. Periodic Interest Charge Calculation - Daily
     You may make payments electronically through our website or by one of              balance method (Including new transactions): We calculate a daily
     our customer service phone numbers above. In using any of these                    balance for each type of transaction and use the daily balances to
     channels, you are authorizing us to withdraw funds as a one-time                   determine your interest charges. We figure the "daily balance" for each
     electronic funds transfer from your bank account. In our automated phone           transaction type as follows:
     system, this authorization is provided via entry of a personal identification
     number. You may revoke this authorization by cancelling your payment                 • We take the beginning balance for each day and add any interest
     through our website or customer service telephone numbers prior to the                 charge from the prior day (known as compounding of interest) and
     payment processing. If we receive your completed payment request                       any new transactions or other debits (including Annual Membership
     through one of these channels by 11:59 p.m. Eastern Time, we will credit               Fees, transaction fees, Penalty Fees, any other fees and unpaid
     your payment as of that day. If we receive your request after 11:59 p.m.               interest charges).
     Eastern Time, we will credit your payment as of the next calendar day. If            • We subtract payments or credits and treat any net credit balance as
     you specify a future date in your request we will credit your payment as of            a zero balance.
     that day.
                                                                                        The result is the daily balance for each type of transaction. We figure the
     If you pay by regular U.S. mail to the Payments address shown on this              interest charges on your account as follows:
     statement, write your account number on your check or money order and
     include the payment coupon in the envelope. Do not send more than one                • To get the daily interest rate for each type of transaction we divide
     payment or coupon per envelope. Do not staple, clip or tape the                        the APR by 365. We may combine different transaction types that
     documents. Do not include correspondence. Do not send cash. If we                      have the same daily interest rates.
     receive your properly prepared payment on any day by 5 p.m. local time at            • We multiply the daily interest rate by the daily balance for each
     our Payments address on this statement, we will credit to your account                 transaction type for each day in the billing cycle.
     that day. If your payment is received after 5 p.m. local time at our
     Payments address on this statement, we will credit it to your account as of          • We add together the interest charges for each day in the billing cycle
     the next calendar day.                                                                 for each transaction type.
                                                                                          • If any interest charge is due, we will charge you at least the minimum
     For all other payments or for any payment type above for which you do not              interest charge shown on the Rates and Fees Table. We add
     follow our payment instructions, crediting of your payments may be                     transactions and fees to your daily balance no earlier than:
     delayed for up to 5 days.                                                              • For new purchases (including Chase Pay Over Time plans created
                                                                                                at checkout with select merchants), balance transfers, cash
     Account Information Reported To Credit Bureau:                                             advances, or My Chase Loans - the date of the transaction.
     We may report information about your Account to credit bureaus. Late                   • For new cash advance checks or balance transfer checks - the
     payments, missed payments or other defaults on your Account may be                         date the payee deposits the check.
     reflected in your credit report. If you think we have reported inaccurate              • Fees - either on the date of a related transaction, the date they are
     information to a credit bureau, please write to us at Chase Card Services                  posted to your account, or the last day of the billing cycle,
     P.O. Box 15369, Wilmington, DE 19850-5369.                                                 whichever we may choose.
     Authorization To Convert Your Check To An Electronic Transfer Debit:
                                                                                        The Balances Subject to Interest Rate for each type of transaction shown
     When you provide a check as payment, you authorize us either to use
     information from your check to make a one-time electronic fund transfer            on your billing statement is the sum of the daily balances for that type of
     from your account or to process the payment as a check. Your bank                  transaction divided by the number of days in the billing cycle. We may use
     account may be debited as soon as the same day we receive your                     mathematical formulas that produce equivalent results to calculate the
     payment. You will not receive your check back from your institution.               Balance Subject to Interest Rate, interest charges and related amounts.
                                                                                        Credit Limit: If you want to inquire about your options to help prevent your
     Conditional Payments:
                                                                                        account from exceeding your credit limit, please call the number on the
     Any payment check or other form of payment that you send us for less               back of your card.
     than the full balance due that is marked "paid in full" or contains a similar
     notation, or that you otherwise tender in full satisfaction of a disputed
     amount, must be sent to Card Services, P.O. Box 15049, Wilmington, DE
     19850-5049. We reserve all our rights regarding these payments (e.g., if it
     is determined there is no valid dispute or if any such check is received at
     any other address, we may accept the check and you still owe any                                                                                 DA04012024
     remaining balance). We may refuse to accept any such payment by
     returning it to you, not cashing it or destroying it. All other payments that
     you make should be sent to the regular Payment address shown on this
     statement.
     Annual Renewal Notice:
     If your Account Agreement has an annual membership fee, you are
     responsible for it every year your Account is open. We will add your
     annual membership fee to your monthly billing statement once a year,
     whether or not you use your account. Your annual membership fee will be
     added to your purchase balance and may incur interest. The annual
     membership fee is non-refundable unless you notify us that you wish to




          To manage your account, including card payments, alerts, and change of address, visit
          www.chase.com/cardhelp or call the customer service number which appears on your

          account statement.
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                                                Manage your account online at :             Customer Service:
                                                                                            1-800-945-2028
                                                                                                                        Mobile:   Download the
                                                www.chase.com/cardhelp                                                  Chase Mobile
                                                                                                                                      ®
                                                                                                                                          app today




 YOUR ACCOUNT MESSAGES                                       (CONTINUED)
 Your next AutoPay payment for $1,137.00 will be deducted from your Pay From account and credited on your due
 date.    If your due date falls on a Saturday, we'll credit your payment the Friday before.


 Your AutoPay amount will be reduced by any payments that post to your account before we process your AutoPay
 payment.       If the total of these payments and merchant credits is more than your statement balance, your AutoPay
 payment for that month will be zero.




 ACCOUNT ACTIVITY

    Date of
  Transaction                               Merchant Name or Transaction Description                                           $ Amount




  09/05                   EIG*CONSTANTCONTACT.COM 855-2295506 MA                                                                   110.00
                                                                                                                                          .
  09/09                   NUMEROUS.AI NUMEROUS.AI DC                                                                                 19.00
  09/09                   CONOCO - SEI 33710 COLORADO SPRG CO                                                                        47.96
  09/10                   TST* MICI CAREFREE & POWE COLORADO SPRI CO                                                                 11.65
  09/11                   INSTANTLY HTTPSINSTANTL WY                                                                                 37.00
  09/11                   UBER *TRIP HELP.UBER.COM CA                                                                                33.96
  09/11                   PY *FERRY PLAZA WINE MERC SAN FRANCISCO CA                                                               151.19
  09/12                   TST* COQUETA SF SAN FRANCISCO CA                                                                           60.58
  09/12                   HYATT REGENCY SAN FRANCI SAN FRANCISCO CA                                                               1,965.72
  09/13                   DEN PUBLIC PARKING DENVER CO                                                                             120.00
  09/18                   PARIS ROUSSOS BRINGTO.MARKE OR                                                                           700.00
  09/17                   FRESHWORKS INC FRESHWORKS.CO CA                                                                            36.00




  09/20                   UBER *TRIP HELP.UBER.COM CA                                                                                 5.00
  09/20                   UBER *TRIP HELP.UBER.COM CA                                                                                22.28
  09/20                   UBER *TRIP HELP.UBER.COM CA                                                                                14.85
                                                  .                                                                                       .
  09/21                   CORPORATE FILINGS LLC 888-7898466 WY                                                                        9.00




  09/22                   OPUS VIRTUAL OFFICES LLC 561-9886900 FL                                                                    99.00
                                                                                                                                              0
  09/24                   HILTON PROSPECTS REST DENVER CO                                                                            55.25
  09/25                   PHILLIPS 66 - QUEBEC P LONE TREE CO                                                                        61.82
  09/25                   STARBUCKS 65048 DENVER CO                                                                                  20.41
  09/25                   PARKWELL VALET-MCGREGOR S D CO                                                                             20.00




                                                          2024 Totals Year-to-Date
                                       Total fees charged in 2024                            $95.00
                                       Total interest charged in 2024                     $2,672.37
                                       Year-to-date totals do not reflect any fee or interest refunds
                                                         you may have received.




 INTEREST CHARGES

 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                     Annual                               Balance
 Balance Type                                      Percentage                           Subject To           Interest
                                                   Rate (APR)                          Interest Rate         Charges

 PURCHASES
   Purchases                                    25.74%(v)(d)                            $36,312.62           $768.23

MICHAEL OHARE                                                    Page 2 of 3
                            This Statement is a Facsimile - Not an original
                                                                                                                   Statement Date:     10/03/24
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     INTEREST CHARGES                            (CONTINUED)
     Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                            Annual                        Balance
     Balance Type                                         Percentage                    Subject To         Interest
                                                          Rate (APR)                   Interest Rate       Charges

     CASH ADVANCES
       Cash Advances                                 29.74%(v)(d)                           -0-               -0-
     BALANCE TRANSFERS
       Balance Transfers                             25.74%(v)(d)                           -0-               -0-
                                                                                                                 30 Days in Billing Period
     (v) = Variable Rate
     (d) = Daily Balance Method (including new transactions)
     (a) = Average Daily Balance Method (including new transactions)
     Please see Information About Your Account section for the Calculation of Balance Subject to Interest Rate, Annual Renewal Notice, How
     to Avoid Interest on Purchases, and other important information, as applicable.




                              This Statement is a Facsimile - Not an original
x 0000001 FIS33339 C 1                       N   Z   03    24/10/03     Page 3 of 3         05686   MA DA 05309     27710000010000530902
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Date       Type              DescriptionAgency              Freelancer
  2-Sep-24 Payment           Paid from ACH 0627
  2-Sep-24 Fixed Price       Invoice for TCPA Junior Researcher:
                                                            Milenko
                                                                  Milestone
                                                                      Grujic 59 - TCPA Research August II 2024
  2-Sep-24 Payment           Paid from escrow for invoice 730277851
  2-Sep-24 Marketplace Fee   Marketplace Fee for Ref ID 730277795
  2-Sep-24 Fixed Price       Funding request for TCPA Junior Researcher: Milestone 59 - TCPA Research August II 2024
  2-Sep-24 Payment           Paid from ACH 0627 to escrow for funding request 730277795
  2-Sep-24 Marketplace Fee   Marketplace Fee for Ref ID 730277517
  2-Sep-24 Fixed Price       Funding request for Data Miner - TCPA Plaintiff Researcher: Milestone 179 - TCPA Research Augu
  2-Sep-24 Payment           Paid from ACH 0627 to escrow for funding request 730277517
  2-Sep-24 Fixed Price       Invoice for Data Miner - TCPA Plaintiff
                                                            NastasijaResearcher:
                                                                       Grujic Milestone 180 - TCPA Research August II 2024
  2-Sep-24 Payment           Paid from escrow for invoice 730277198
  2-Sep-24 Marketplace Fee   Marketplace Fee for Ref ID 730277140
  2-Sep-24 Fixed Price       Funding request for Data Miner - TCPA Plaintiff Researcher: Milestone 180 - TCPA Research Augu
  2-Sep-24 Payment           Paid from ACH 0627 to escrow for funding request 730277140
  2-Sep-24 Marketplace Fee   Marketplace Fee for Ref ID 730029147
                                                            Hakob Shaghikyan
  2-Sep-24 Hourly            Invoice for 08/26/2024-09/01/2024
                                                            Hakob- 38:00
                                                                     Shaghikyan
                                                                          hrs @ $22.00/hr
  2-Sep-24 Marketplace Fee   Marketplace Fee for Ref ID 729732226
                                                            Usama Bin Ghaffar
  2-Sep-24 Hourly            Invoice for 08/26/2024-09/01/2024
                                                            Usama - 40:00
                                                                     Bin Ghaffar
                                                                          hrs @ $22.00/hr
  2-Sep-24 Marketplace Fee   Marketplace Fee for Ref ID 729381737
                                                            Raja Khilnani
  2-Sep-24 Hourly            Invoice for 08/26/2024-09/01/2024
                                                            Raja Khilnani
                                                                  - 3:20 hrs @ $30.00/hr
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            Team                                  Amount
                                                     1906.8
              DNC and TCPA List Sanitizer              -200
                                                        200
                                                         -6
one 59 - TCPA Research August II 2024                  -200
                                                        206
                                                      -13.5
 archer: Milestone 179 - TCPA Research August II 2024 -450
                                                      463.5
              DNC and TCPA List Sanitizer              -450
                                                        450
                                                      -13.5
 archer: Milestone 180 - TCPA Research August II 2024 -450
                                                      463.5
              DNC and TCPA List Sanitizer             -41.8
              DNC and TCPA List Sanitizer              -836
              DNC and TCPA List Sanitizer               -44
              DNC and TCPA List Sanitizer              -880
              DNC and TCPA List Sanitizer                -5
              DNC and TCPA List Sanitizer              -100
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  EXHIBIT E
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                                     DNC and TCPA Sanitizer, LLC
                                                  Profit and Loss
                                                     Basis: Cash

                                           From 01 Sep 2024 To 30 Sep 2024




 Account                                                                                              Total

Operating Income

  Sales                                                                                        116,652.25

Total for Operating Income                                                                     116,652.25

Cost of Goods Sold

Total for Cost of Goods Sold                                                                           0.00

                                              Gross Profit                                     116,652.25

Operating Expense

  Advertising And Marketing                                                                      2,592.43

  Bank Fees                                                                                           73.91

  Legal                                                                                          3,000.00

  Litigators Research                                                                            7,236.23

  Sales People and Commissions                                                                   1,612.00

  Server Cost                                                                                    3,000.00

Total for Operating Expense                                                                     17,514.57

                                          Operating Profit                                      99,137.68

Non Operating Income

Total for Non Operating Income                                                                         0.00

Non Operating Expense

Total for Non Operating Expense                                                                        0.00

                                           Net Profit/Loss                                      99,137.68




**Amount is displayed in your base currency USD
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                                                                                                      Managing Your Accounts
                                                                                                      PHONE:            (719) 487-3034
                                                                                                      ADDRESS:           13475 VOYAGER PKWY
                                                                                                                        COLORADO SPRINGS CO 80921
0001329




                                   1315 1 AV 0.540        *0001329         S3                         TOLL FREE:         877-677-2265
                                   DNC AND TCPA LIST SANITIZER
                                   CASE #24-12624-KHT                                                 TELEBANK:          877-317-2265
                                   DEBTOR IN POSSESSION
                                   405 CHERRY HILLS WAY
                                   COLORADO SPRINGS CO 80921-2667                                     ONLINE:            www.IntegrityBankAndTrust.com
0278IBTMC




                           FAFFTAFADDATDTFDDAAFFFTAFDTTADTAATADATDDATAADFTFTFFDTTTFFTTFFFATD


               Statement Date:           09/30/2024        Enclosures:               (1)                                  Account No.:             Page: 1
3967C00X.001




                                                                                                                       XXXXXXXXX627


                                                                       This Statement Cycle Reflects 31 Days


                 ACCOUNTS AT A GLANCE
               Account No.                   Sub Acct.                Account Title                       Acct Type                   Balance
               XXXXXXXXX627                                           INTEGRITY BUSINESS                  Deposit                     157,580.80
                                                         Your Total Deposits = 157,580.80 And Your Total Loans = 0.00

                      INTEGRITY BUSINESS SUMMARY                                                                                  Type: REG Status: Active
               Category                                                                                           Number                             Amount
               Balance Forward From 08/30/24                                                                                                     73,333.60
               Debits                                                                                                   1                         3,000.00
               Automatic Withdrawals                                                                                   23                        77,146.57
               Automatic Deposits                                                                                      45                       164,418.77+
               Miscellaneous Fees                                                                                       1                            25.00
MailAndE 100




               Ending Balance On 09/30/24                                                                                                       157,580.80


                                                                     Average Balance (Ledger)                   70,741.45+

               STATEMENT PERIOD ACTIVITY
               Date              Check/Description                                                                              Amount                Balance
               09/03/24          PAYPAL TRANSFER                                                                                191.56             73,525.16
               09/03/24          STRIPE TRANSFER                                                                                568.37             74,093.53
               09/03/24          INTERNET TRANSFER FROM CHK 0627 TO CHK 5355 8351625                                         62,656.00-            11,437.53
               09/03/24          M MERCHANT MERCH FEES                                                                           25.20-            11,412.33
               09/03/24          PAYPAL INST XFER                                                                             1,000.00-            10,412.33
               09/03/24          PAYPAL INST XFER                                                                             1,612.00-             8,800.33
               09/04/24          PAYPAL TRANSFER                                                                                191.56              8,991.89
               09/04/24          STRIPE TRANSFER                                                                              1,259.52             10,251.41
               09/04/24          UPWORK ESCROW IN EDI PYMNTS                                                                    206.00-            10,045.41
               09/04/24          UPWORK ESCROW IN EDI PYMNTS                                                                    463.50-             9,581.91
               09/04/24          UPWORK ESCROW IN EDI PYMNTS                                                                    463.50-             9,118.41
               09/04/24          UPWORK ESCROW IN EDI PYMNTS                                                                  1,906.80-             7,211.61
               09/05/24          PAYPAL TRANSFER                                                                              1,455.15              8,666.76
               09/05/24          STRIPE TRANSFER                                                                             18,991.88             27,658.64
               09/05/24           CHK#102                                                                                     3,000.00-            24,658.64
               09/06/24          PAYPAL TRANSFER                                                                                191.56             24,850.20
               09/06/24          PAYPAL TRANSFER                                                                                191.56             25,041.76


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               STATEMENT PERIOD ACTIVITY (continued)
               Date              Check/Description                                                        Amount                Balance
               09/06/24          STRIPE TRANSFER                                                        891.51               25,933.27
               09/06/24          GATEWAY SERVICES WEBPAYMENT                                             18.71-              25,914.56
               09/06/24          PAYPAL INST XFER                                                     1,359.88-              24,554.68
               09/09/24          PAYPAL TRANSFER                                                        383.12               24,937.80
0001329




               09/09/24          VISTA ENERGY MAR PAYABLES INV-009076 428                             4,288.00               29,225.80
               09/09/24          STRIPE TRANSFER                                                      4,402.77               33,628.57
               09/09/24          PAYPAL INST XFER                                                        13.55-              33,615.02
               09/10/24          PAYPAL TRANSFER                                                        380.14               33,995.16
               09/10/24          STRIPE TRANSFER                                                      4,288.70               38,283.86
0278IBTMC




               09/11/24          M MERCHANT CR CD DEP TCPA LITIGATOR LIST                               199.00               38,482.86
               09/11/24          PAYPAL TRANSFER                                                        383.12               38,865.98
               09/11/24          STRIPE TRANSFER                                                     11,653.26               50,519.24
               09/11/24          M MERCHANT DLY DIS S                                                     1.00-              50,518.24
               09/11/24          WISE INC WISE                                                          700.00-              49,818.24
               09/12/24          WIRE TRANSFER FROM BOOMSOURCING LLC                                  1,500.00               51,318.24
3969C00X.001




               09/12/24          STRIPE TRANSFER                                                      1,058.52               52,376.76
               09/13/24          M MERCHANT CR CD DEP TCPA LITIGATOR LIST                               199.00               52,575.76
               09/13/24          STRIPE TRANSFER                                                      4,647.25               57,223.01
               09/13/24          M MERCHANT DLY DIS S                                                     1.00-              57,222.01
               09/16/24          M MERCHANT CR CD DEP TCPA LITIGATOR LIST                               199.00               57,421.01
               09/16/24          M MERCHANT CR CD DEP TCPA LITIGATOR LIST                               398.00               57,819.01
               09/16/24          STRIPE TRANSFER                                                      5,940.77               63,759.78
               09/16/24          M MERCHANT DLY DIS S                                                     1.00-              63,758.78
               09/16/24          M MERCHANT DLY DIS S                                                     2.00-              63,756.78
               09/17/24          PAYPAL TRANSFER                                                        291.03               64,047.81
               09/17/24          STRIPE TRANSFER                                                        574.12               64,621.93
               09/17/24          PAYPAL TRANSFER                                                        576.14               65,198.07
               09/18/24          PAYPAL TRANSFER                                                        191.56               65,389.63
               09/18/24          STRIPE TRANSFER                                                      7,386.69               72,776.32
               09/18/24          UPWORK ESCROW IN EDI PYMNTS                                            206.00-              72,570.32
               09/18/24          WEST PUBLISHING EDI/EFTPMT ISA 00 00 01 006930416ISO ZZ              1,963.20-              70,607.12
                                 ISOWESTPB 240917 090
26FDP




               09/19/24          STRIPE TRANSFER                                                      1,932.01               72,539.13
               09/20/24          STRIPE TRANSFER                                                      3,338.24               75,877.37
               09/23/24          WIRE TRANSFER FROM ALP TRAFFIC S DE RLDE CV                          2,240.00               78,117.37
               09/23/24          PAYPAL TRANSFER                                                        671.19               78,788.56
               09/23/24          STRIPE TRANSFER                                                      2,740.42               81,528.98
MailAndE 100




               09/23/24          WIRE TRANSFER FEE FROM ALP TRAFFIC S DE RLDE CV                         25.00-              81,503.98
               09/23/24          PAYPAL INST XFER                                                       320.00-              81,183.98
               09/23/24          PAYPAL INST XFER                                                     2,000.00-              79,183.98
               09/24/24          STRIPE TRANSFER                                                      3,389.13               82,573.11
               09/24/24          WEST PUBLISHING EDI/EFTPMT ISA 00 00 01 006930416ISO ZZ              2,027.23-              80,545.88
                                 ISOWESTPB 240923 083
               09/25/24          STRIPE TRANSFER                                                      7,111.66              87,657.54
               09/26/24          INTERNET TRANSFER FROM CHK 5355 TO CHK 0627 8858701                 55,000.00             142,657.54
               09/26/24          PAYPAL TRANSFER                                                        291.03             142,948.57
               09/26/24          STRIPE TRANSFER                                                      7,486.51             150,435.08
               09/26/24          PAXTON.AI PAXTON.AI                                                    199.00-            150,236.08
               09/27/24          PAYPAL TRANSFER                                                        770.62             151,006.70
               09/27/24          STRIPE TRANSFER                                                      1,644.09             152,650.79
               09/30/24          M MERCHANT CR CD DEP TCPA LITIGATOR LIST                               199.00             152,849.79
               09/30/24          PAYPAL TRANSFER                                                        383.12             153,232.91
               09/30/24          STRIPE TRANSFER                                                      1,975.08             155,207.99
               09/30/24          PAYPAL TRANSFER                                                      2,373.81             157,581.80
               09/30/24          M MERCHANT DLY DIS S                                                     1.00-            157,580.80


                      CHECKS AND OTHER DEBITS                                                     * indicates a gap in the check numbers

               Date       Check #                Amount Date       Check #          Amount Date     Check #                   Amount
               09/05/24 102                     3,000.00




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       DAILY BALANCE SUMMARY
Beginning Ledger Balance on 08/30/24 was 73,333.60
Date                         Balance      Date                       Balance    Date                        Balance
09/03/24                    8,800.33      09/12/24                 52,376.76    09/23/24                  79,183.98
09/04/24                    7,211.61      09/13/24                 57,222.01    09/24/24                  80,545.88
09/05/24                   24,658.64      09/16/24                 63,756.78    09/25/24                  87,657.54
09/06/24                   24,554.68      09/17/24                 65,198.07    09/26/24                 150,236.08
09/09/24                   33,615.02      09/18/24                 70,607.12    09/27/24                 152,650.79
09/10/24                   38,283.86      09/19/24                 72,539.13    09/30/24                 157,580.80




                                                                                                                       0001329
09/11/24                   49,818.24      09/20/24                 75,877.37




                                       Direct Inquiries About Electronic Entries To:




                                                                                                                       0278IBTMC
                                                   Phone: (719) 484-0077




                                                                                                                       3970C00X.001
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0001329        Account No.: XXXXXXXXX627                                                         Statement Date: 09/30/2024




               Number: 102 Date: 9/5/2024 Amount: $3000.00<F>
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